            Case 1:22-cv-00641-JTA Document 1 Filed 11/01/22 Page 1 of 12




                         UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

Chase Bass,                                      §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §     Civil Action No.:
                                                 §
UniFirst Corporation                             §     JURY DEMAND
                                                 §
       Defendant.                                §

                                           COMPLAINT

                                        INTRODUCTION

       1.      This is an action for redress of unlawful conduct committed by the Defendant

in violation of the Americans with Disabilities Act as amended (“ADA”), 42 U.S.C. 12101, et.

seq. and the Family and Medical Leave Act ("FMLA"), 29 U.S.C. 2601 et. seq. The Plaintiff

requests a trial by jury of all issues so triable to a jury.

                                         JURISDICTION

       2.      The jurisdiction of this court is invoked pursuant to 28 U.S.C. § 1331, 42 U.S.C.

§ 12117 and 29 U.S.C. §2617.

       3.      UniFirst Corporation (“Defendant” or “UniFirst”) employed the Plaintiff in

Houston County, Alabama where the events or omissions giving rise to the Plaintiff's claims

occurred. Therefore, venue in the Middle District of Alabama is proper pursuant to 28 U.S.C.

§ 1391.
               Case 1:22-cv-00641-JTA Document 1 Filed 11/01/22 Page 2 of 12




                                              PARTIES

          4.      At all relevant times herein, the Plaintiff, Chase Bass (hereinafter “Plaintiff” or

“Mr. Bass”) has been an Alabama resident over age 19 and was an employee for purposes of,

42 U.S.C. § 12111 and 29 U.S.C. § 2617.

          5.      UniFirst Corporation (“UniFirst” or “Defendant”) is a Delaware corporation

authorized to do business in the State of Alabama and does business in Houston County,

Alabama. It employs more than 50 people and is considered an employer for all purposes

herein.

                             ADMINISTRATIVE PREREQUISITES

          6.      Plaintiff filed his charge of discrimination with the Equal Employment

Opportunity Commission on or about April 19, 2021. The EEOC Dismissal and Notice of

Rights was issued on August 5, 2022. This Complaint is filed within ninety (90) days of

Plaintiff’s receipt of his Notice of Rights.

                                    STATEMENT OF FACTS

          7.      Mr. Bass began working at UniFirst Corporation in Dothan, Alabama in January

2017 as a Sales Manager. His territory was Dothan, Alabama and Panama City Beach, Florida.

His job duties included managing sales teams, hiring and training new sales representatives,

leading sales calls with representatives, managing the sales force of both locations, and leading

continuing education training, among other things. He was very successful at his job and

braking division records every year.

          8.      Around July 2020, Mr. Bass began experiencing episodes of high fever, nausea,

extreme fatigue, exhaustion, night sweats, stress, anxiety and depression. These episodes

                                                   2
            Case 1:22-cv-00641-JTA Document 1 Filed 11/01/22 Page 3 of 12




would be so extreme that they substantially limited his major life activities. He began to seek

medical treatment and diagnoses. This required many visits to a variety of doctors as well as

extensive medical testing. Ultimately, around August 2020, he was diagnosed with Epstein -

Barr virus, mononucleosis and cytomegalovirus (“CMV”).

       9.      During this time UniFirst policy was strict that all Sales Department employees

work from home, therefore Mr. Bass was able to continue to successfully complete his job

duties. On the occasions where his illness did prevent him from participating in a work meeting

or call, he would inform his supervisor and use sick time.

       10.     On or about August 6, 2020, he was admitted to the emergency room for kidney

and liver failure. During his hospital stay, his supervisor the General Manager, Jason Brunson,

sent him an email to schedule a meeting with him the following Monday. Mr. Bass responded

that he was currently in the Emergency Room and that he would not be able to meet with

Brunson on Monday. Brunson then questioned why Mr. Bass was in the Emergency Room and

Mr. Bass told him that he had experienced an episode and was seeking medical treatment.

       11.     After Brunson found out about Mr. Bass’s health conditions, there were several

instances where Brunson questioned the severity and validity of the diagnoses. Brunson also

required Mr. Bass to go back to working in the office Monday through Friday at one point,

while every other sales employee was able to continue working from home. Mr. Bass then

requested an accommodation to continue working from home as it was better for his health,

not only because he was immunocompromised, and therefore at a higher risk of contracting

Covid, but also for his safety as well. Mr. Brunson denied the request and required Mr. Bass

to return to the office.

                                              3
         Case 1:22-cv-00641-JTA Document 1 Filed 11/01/22 Page 4 of 12




       12.    Brunson began making harassing comments such as “Chase is out “sick” today”

and that he had “lingering health conditions.” He would make these comments not only to Mr.

Bass, but in front of other employees, using a sarcastic and mocking tone of voice. Brunson

also made comments that he did not believe that Mr. Bass was actually sick.

       13.    At one point during a one-on-one meeting, Mr. Brunson again stated that he did

not believe Mr. Bass and they had an in-depth conversation where Mr. Bass pleaded for

understanding. For a short period of time, Brunson seemed to try to be more sympathetic to

Mr. Bass’s disability.

       14.    In the fall of 2020 Mr. Bass was still working and going into the field, when

necessary, to complete his job duties. He experienced episodes on two separate occasions

where he completely blacked out and/or fainted. Neither of these episodes were on a work day

but Mr. Bass still notified all management on the next business day to make sure they were

updated on his condition.

       15.    On or about January 28, 2021 Mr. Bass had a scheduled meeting with a new hire

representative. As he was preparing to go to the meeting, he had an episode to the point where

he was unconscious and missed the meeting. The Location Manager in Panama City Beach,

Florida, William Wilmes, called Mr. Bass and told him that he needed to let someone know if

he was not going to show up to a meeting. Mr. Bass explained to him that he cannot control

when the episodes are going to occur. Later that afternoon, Mr. Bass notified Brunson and

Wilmes letting them know that he would need time off for more medical testing. He had ample

sick leave, vacation, and FMLA time accrued to cover this. He did not receive a response until

Sunday, January 31, 2021 when Brunson sent him a text message telling him to be in the office

                                              4
            Case 1:22-cv-00641-JTA Document 1 Filed 11/01/22 Page 5 of 12




at 7:30 A.M. the following morning. Mr. Bass reminded Mr. Brunson that he had a large

prospective client meeting in Panama City, Florida that morning at 9:00 A.M. He said that was

fine and to just take the Location Manager, William Wilmes with him. Brunson said he would

talk to Mr. Bass after the prospective client meeting. Mr. Brunson was aware that the

prospective client meeting was the result of the relationship Mr. Bass had built with the

prospective client.

       16.     On or about February 1, 2021, Mr. Bass lead the morning sales meeting in

Panama City as normal. After the meeting, Bruson told Mr. Bass to go back to the Panama

City office for a video conference meeting. During the meeting, Brunson again made

comments about Mr. Bass’s “lingering health issues” and questioned Mr. Bass’s medical

diagnoses. Brunson accused Mr. Bass of lying about his reasons for missing the appointment

on the previous Thursday. Brunson then told Mr. Bass that he was being suspended pending

an investigation. Mr. Bass questioned Brunson about what was being investigated and he could

not give Mr. Bass an answer. At this time, Brunson forced Mr. Bass to turn over all company

property.

       17.     On or about February 2, 2021, Mr. Bass received a call from Defendant and was

told that he was being terminated. Mr. Bass asked for a reason and was not given one. Mr.

Bass contacted Human Resources several times asking the reason for his termination and the

alleged investigation but he was never given an answer.

       18.     Following Mr. Bass’s termination, doctors a found a tumor in his neck near the

base of his skull that had to be removed.



                                              5
            Case 1:22-cv-00641-JTA Document 1 Filed 11/01/22 Page 6 of 12




          19.   UniFirst has a progressive discipline policy that requires write ups and other

disciplinary actions before termination and it did not follow this policy before terminating Mr.

Bass, who had not receive any write ups or warnings before the termination.

          20.   This inequitable treatment caused Mr. Bass severe stress, anxiety, and

depression, especially when coupled with his ongoing health concerns.

          21.   Mr. Bass’s Epstein - Barr virus, mononucleosis, CMV, and subsequently

discovered tumor affected Mr. Bass’s daily activities by causing him extreme fatigue,

exhaustion, and to pass out or faint on occasion. As such, his conditions qualify as disabilities

under the ADA, 42 U.S.C. §12102.

          22.   In the 12 months prior to seeking to exercise his rights under the FMLA, Mr.

Bas, worked at least 1250 hours for the Defendant and therefore was an “eligible employee”

under the Family and Medical Leave Act, 29 U.S.C. §2611.

                                COUNT ONE
                AMERICANS WITH DISABILITIES ACT – RETALIATION

          23.   Plaintiff incorporates paragraphs 1 through 22 by reference as if fully restated

herein.

          24.   The ADA states that no person shall discriminate against any individual because

the individual has opposed any act or practice made unlawful by this Act. 42 U.S.C. §

12203(a). “It shall be unlawful to coerce, intimidate, threaten or interfere with any individual

in the exercise or enjoyment of or on account of his or her having exercised or enjoyed…any

right granted by this Act.” 42 U.S.C. §12203(b).


                                                6
         Case 1:22-cv-00641-JTA Document 1 Filed 11/01/22 Page 7 of 12




       25.    Plaintiff engaged in activity protected by the ADA by requesting

accommodations for his disabilities.

       26.    The Defendant violated 42 U.S.C. §12203(b) when it retaliated against the

Plaintiff because of the protected activity, among other things, as follows:

              a)      By questioning the severity and validity of Mr. Bass’s diagnoses;

              b)      By requiring Mr. Bass to go back to working in the office while every
                      other sales employee was able to continue working from home;

              c)      By denying Mr. Bass’s requested accommodation to continue working
                      from home and requiring Mr. Bass to return to the office.

              d)      By making harassing comments in a mocking tone such as “Chase is out
                      “sick” today,” Chase has “lingering health conditions” and by
                      questioning whether Mr. Bass was really sick, both directly to Mr. Bass
                      and in front of other employees;

              e)      By accusing Mr. Bass of lying about his health conditions;

              f)      By suspending Mr. Bass pending an investigation, after Mr. Bass had
                      notified UniFirst that would need time off for more medical testing and
                      refusing to provide any information regarding the basis for the
                      investigation or the allegation against him;

              g)      By terminating his employment and refusing to provide any reason for
                      the termination.

       27.    As the proximate result of the acts and omissions of the Defendant, the Plaintiff

suffered damages including loss of past and future earnings, benefits, interest, costs and other

pecuniary loss. He also has suffered from severe emotional and mental distress, anguish,

humiliation, embarrassment, discomfort and anxiety.

       28.    Plaintiff therefore seeks relief in order to make him whole by awarding him

compensatory damages for the wrong endured and punitive and/or nominal damages as

determined by the jury. The Plaintiff further prays for such other relief and benefits as the
                                             7
          Case 1:22-cv-00641-JTA Document 1 Filed 11/01/22 Page 8 of 12




cause of justice may require, including, but not limited to, an award of costs, attorney's fees

and expenses and all other damages allowed by law.

       WHEREFORE, the Plaintiff prays that judgment be entered in his favor and against the

Defendant herein for all such damages which are allowed by law to redress the wrong

committed in violation of the Americans with Disabilities Act.

                               COUNT TWO
             AMERICANS WITH DISABILITIES ACT – DISCRIMINATION

       29.     The Plaintiff incorporates paragraphs 1 through 22 by reference as if fully

restated herein.

       30.     The ADA states that no covered entity shall discriminate against a qualified

individual on the basis of disability in regard to…discharge of employees…and other terms

and conditions of employment. 42 U.S.C. §12112 (a). The term Discriminate against a

qualified individual on the basis of disability includes denying employment opportunities to

an employee who is an otherwise qualified individual where the denial is based on the need to

make reasonable accommodation to the employee. 42 U.S.C. §12112(b)(5)(B).

       31.     The Defendant violated the above section of the ADA by denying Plaintiff his

employment opportunity based on the need to make reasonable accommodations to the

Plaintiff when it terminated his employment on February 2, 2022.

       32.     As the proximate result of the acts and omissions of the Defendant, the Plaintiff

suffered damages including loss of past and future earnings, benefits, interest, costs and other

pecuniary loss. He also has suffered from severe emotional and mental distress, anguish,

humiliation, embarrassment, discomfort and anxiety.


                                               8
            Case 1:22-cv-00641-JTA Document 1 Filed 11/01/22 Page 9 of 12




          33.    Plaintiff therefore seeks relief in order to make him whole by awarding him

compensatory damages for the wrong endured and punitive and/or nominal damages as

determined by the jury. The Plaintiff further prays for such other relief and benefits as the

cause of injustice may require, including, but not limited to, an award of costs, attorney’s fees

and expenses and all other damages allowed by law.

          WHEREFORE, the Plaintiff prays that judgment be entered in his favor and against the

Defendant herein for all such damages which are allowed by law to redress the wrong

committed in violation of the ADA.


                                COUNT THREE
                      AMERICANS WITH DISABILITIES ACT -
                FAILURE TO MAKE A REASONABLE ACCOMMODATION

          34.    Plaintiff incorporates paragraphs 1 through 22 by reference as if fully restated

herein.

          35.    The ADA states that no covered entity shall discriminate against a qualified

individual on the basis of disability in regard to…discharge of employees…and other terms

and conditions of employment. 42 U.S.C. §12112 (a). “Discriminate against a qualified

individual on the basis of disability” includes the failure to make reasonable accommodations

to the known physical or mental limitations of an otherwise qualified individual with a

disability, where there is no undue hardship. 42 U.S.C. §12112(b)(5)(a); 29 CFR 1630.9.

          36.    At all relevant times herein, the Defendant was aware that the Plaintiff was a

qualified individual with a disability and that the Plaintiff requested an accommodation to work

from home temporarily and time off for medical testing because of his disability.


                                                 9
           Case 1:22-cv-00641-JTA Document 1 Filed 11/01/22 Page 10 of 12




          37.    The Defendant wrongfully discriminated and retaliated against the Plaintiff in

violation of the ADA by failing to reasonably accommodate his disability and by terminating

his employment.

          38.    As the proximate result of the acts and omissions of the Defendant, the Plaintiff

has suffered damages including loss of past and future earnings, benefits, interest, costs and

other pecuniary loss. He has also suffered from severe emotional and mental distress, anguish,

humiliation, embarrassment, discomfort and anxiety.

          39.    Plaintiff therefore seeks relief in order to make him whole by awarding him

compensatory damages for the wrong endured and punitive and/or nominal damages as

determined by the jury. The Plaintiff further prays for such other relief and benefits as the

cause of justice may require, including, but not limited to, an award of costs, attorney's fees

and expenses.

          WHEREFORE, the Plaintiff prays that judgment be entered in his favor and against the

Defendant herein for all such damages which are allowed by law to redress the wrong

committed in violation of the ADA.

                                COUNT TWO
                FAMILY AND MEDICAL LEAVE ACT – INTERFERENCE

          40.    Plaintiff incorporates paragraphs 1 through 22 by reference as if fully restated

herein.

          41.    The Congressional findings relating to the FMLA include a finding that

“there is inadequate job security for employees who have serious health conditions that

prevent them from working for temporary periods.” 29 USC 2601(a)(4)


                                                10
        Case 1:22-cv-00641-JTA Document 1 Filed 11/01/22 Page 11 of 12




       42.    Congress therefore stated that it is the purpose of the FMLA “to entitle

employees to take reasonable leave for medical reasons…” 29 USC 2601 (b)(2)

       43.    Under the FMLA, an eligible employee may take up to 12 workweeks of

leave during any 12-month period because of a serious health condition that makes the

employee unable to perform the functions of the position of such employee. 29 USC 2612.

       44.    The FMLA prohibits interference with any rights under the Act. Specifically,

an employer is prohibited from interfering with, restraining or denying the exercise (or

attempt to exercise) any rights provided by the Act. 29 USC 2615; 29 CFR 825.220.

       45.    The Defendants violated the FMLA by subjecting Mr. Bass to a baseless

investigation and subsequently terminating his employment as a means of interfering with,

restraining, or denying the exercise or attempt to exercise Plaintiff’s rights under the Act

as prohibited by 29 CFR 825.220(a)(1).

       46.    As the proximate result of the foregoing acts and omissions of the

Defendants, the Plaintiff has suffered damages including, but not limited to lost wages,

benefits, and other compensation which was denied him by reason of the violation, together

with the interest, and liquidated damages. The Plaintiff also seeks an award of attorney's

fees, expert witness fees, and other costs of the action to be paid by the Defendants and all

other damages allowed by law.

       WHEREFORE, the Plaintiff prays that judgment be entered in his favor and against

the Defendants herein for all such damages allowed by law under the FMLA.




                                             11
Case 1:22-cv-00641-JTA Document 1 Filed 11/01/22 Page 12 of 12
